 Case 1:09-cr-00195-PLM        ECF No. 68, PageID.213        Filed 06/25/10    Page 1 of 7




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         File No. 1:09-CR-195-RHB-1
v.
                                                         HON. ROBERT HOLMES BELL
DONALD JAMES HOLLIN,

              Defendant.
                                             /


                      MEMORANDUM OPINION AND ORDER

       In this action, Defendant Donald James Hollin has been charged with three counts

related to possession and distribution of heroin. Before the Court is Defendant’s motion to

suppress evidence. (Dkt. No. 48.) Defendant contends that the evidence was seized pursuant

to an invalid search warrant. For the reasons that follow, Defendant’s motion will be denied.

                                                 I.

       On June 4, 2009, officers of the Michigan State Police conducted a search of the

residence of Tene Redd pursuant to a search warrant issued by a Magistrate Judge in

Kalamazoo County, Michigan. Officer Michael Ferguson prepared the affidavit to obtain the

warrant, in which he stated, in relevant part:

       B. On 6-4-09, Officers from Kalamazoo Valley Enforcement Team made
 Case 1:09-cr-00195-PLM        ECF No. 68, PageID.214         Filed 06/25/10     Page 2 of 7




       contact with Tenae Reed 1 of 2623 Walden Wood, Wyoming, MI. Reed stated
       that she has been living in 2623 Walden Wood for the last five to six years and
       that she lives there with her two sons ages 16 and 9.

       C. Officers spoke with her regarding suspect Donald Holland, whom (sic) was
       witnessed stopping by the apartment for a very brief visit earlier on this date.
       Reed advised officers that Holland was her son’s godfather. Holland is in a
       dating relationship with Reed’s friend Mesia Gordon.

       D. Officers asked Reed for consent to enter the apartment to speak with her
       reference Holland’s brief visit to the apartment, which she consented to. Inside
       the apartment officers requested permission from Reed to allow officers to do
       a ‘walk-through’ of the apartment to insure no other subjects were present.

       E. Reed led officers through her bedroom where Investigator Gaudard noticed
       numerous marijuana ‘roaches’ in the ashtray sitting on her dresser. Reed
       quickly admitted that she did smoke marijuana and that they were hers for her
       own personal use. Officers continued the walk-through to ensure no other
       subjects were present. Officers then requested consent to search the apartment
       and Reed stated that she did not have time because she had to leave to pick up
       her children.

       F. Officers remained on scene and informed her of the (sic) intent to apply for
       a search warrant to search the remainder of the apartment for drugs and or
       illegal contraband.

       G. Reed stated that she was going to leave the scene to go pick up her children.
       Prior to leaving, she gave a statement to Sgt. Boysen, answering his questions
       she stated:

              1. Donald Hollin has never spent the night at her apartment.

              2. Approximately one month ago, Reed allowed Donald Hollin to store
              a 3 foot by 4 foot box at her apartment. Reed did not see where he put
              the box and did not know what was inside of it.



       1
         The officer preparing the warrant affidavit spelled Ms. Redd’s name throughout the
affidavit as “Tenae Reed,” and Defendant’s name as “Holland.” The Court will use the spelling
of Ms. Redd’s name set forth in the parties’ briefs.

                                              2
 Case 1:09-cr-00195-PLM         ECF No. 68, PageID.215          Filed 06/25/10     Page 3 of 7




              3. Since the agreement to store the box, Donald Hollin has been in
              possession of keys to the apartment and can come and go as he pleases.

              4. Donald Hollin may be bringing things into the apartment without
              her knowledge.

(Dkt. No. 48, Ex. A, Warrant Aff.) The warrant permitted officers to search the apartment

at 2623 Walden Wood and to seize contraband, including “[a]ny forms of marijuana, and/or

other controlled substances.” (Dkt. No. 48, Ex. A, Search Warrant.) When officers

conducted their search of Ms. Redd’s residence pursuant to the warrant, they discovered a

box in Redd’s bedroom closet containing 1.5 kilograms of heroin, as well as sandwich bags,

a digital scale, and rubber gloves. (Dkt. No. 48, Ex. A, at 7.) Defendant’s fingerprints were

discovered on the package containing heroin.

                                               II.

       Defendant moves to suppress the evidence obtained from the search, claiming that the

warrant affidavit was insufficient to support a finding of probable cause for the issuance of

the warrant. The Fourth Amendment prohibits the issuance of search warrants without

“probable cause, supported by oath or affirmation.” U.S. Const. amend. IV. “In order to

demonstrate probable cause sufficient to justify a search warrant, the proponent must submit

an affidavit that ‘indicate[s] a fair probability that evidence of a crime will be located on the

premises of the proposed search.’” United States v. Dyer, 580 F.3d 386, 390 (6th Cir. 2009)

(quoting United States v. Jenkins, 396 F.3d 751, 760 (6th Cir. 2005)).

       The magistrate who issues the warrant is required to make “a practical, common-sense



                                               3
 Case 1:09-cr-00195-PLM         ECF No. 68, PageID.216         Filed 06/25/10     Page 4 of 7




decision whether, given all the circumstances set forth in the affidavit before him, including

the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information, there is

a fair probability that contraband or evidence of a crime will be found in a particular place.”

Illinois v. Gates, 462 U.S. 213, 238 (1983). “[T]he duty of a reviewing court is simply to

ensure that the magistrate had a ‘substantial basis for . . . conclud[ing]’ that probable cause

existed.” Id. at 238-39 (quoting Jones v. United States, 362 U.S. 257, 271 (1960)). “The

review of the sufficiency of the evidence supporting probable cause is limited to the

information presented in the four corners of the affidavit.” United States v. Berry, 565 F.3d

332, 338 (6th Cir.2009) (citing United States v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005)).

“The magistrate’s determination of probable cause is afforded great deference and should be

reversed only if arbitrarily made.” United States v. Jackson, 470 F.3d 299, 306 (6th Cir.

2006) (citing United States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000) (en banc)).

       The Court finds that the warrant affidavit demonstrates probable cause for the warrant

to search Redd’s residence. First, the affidavit indicates that officers discovered “numerous

marijuana ‘roaches’” in her bedroom. The presence of illegal drugs in Redd’s bedroom, in

plain view of the officers, was sufficient to support at least a suspicion that additional drugs

might be found in the bedroom or elsewhere in the apartment. See United States v. Taylor,

248 F.3d 506, 514 (6th Cir. 2001) (finding that officers had probable cause to believe that

contraband was present in an apartment belonging to a murder suspect based on an

individual’s nervous behavior and “a piece of marijuana in plain view”).



                                               4
 Case 1:09-cr-00195-PLM        ECF No. 68, PageID.217         Filed 06/25/10    Page 5 of 7




       Second, Redd’s statements to the police provided additional support for the warrant

because they suggested that a search of her home would uncover additional contraband.

Redd stated that Defendant had free access to the apartment, that he was storing a box inside

the apartment, that she did not know what was in the box or where it was located, and that

Defendant may have been bringing items into the residence without her knowledge. At a

minimum, these statements suggested that inside Redd’s apartment was a box containing

items for which she did not want to accept responsibility. But officers were not required to

accept her word that she did not know where a “3 foot by 4 foot box” was located in her

apartment, that she did not know what was in the box, or that the box belonged to Defendant.

Having been caught in possession of a quantity of drugs that Redd claimed was for her own

personal use, it would have been natural for her to try to distance herself from additional

drugs or other contraband present in her home. According to the affidavit, Redd made her

statements to the police after it was clear that the police intended to obtain a warrant to

search her home. In view of the circumstances, Redd’s statements, together with the drugs

discovered in plain view in Redd’s bedroom, provided probable cause for a warrant to search

her apartment for additional contraband.

       The Court notes that the warrant affidavit refers to Defendant as a “suspect,” though

it does not indicate what basis the officers had for identifying Defendant as a suspect.

Defendant contends that the “true purpose” of the warrant was to search for evidence

implicating him in drug trafficking activity, and that because there is nothing in the warrant



                                              5
 Case 1:09-cr-00195-PLM        ECF No. 68, PageID.218         Filed 06/25/10     Page 6 of 7




affidavit linking him to such activity, the government did not have probable cause to obtain

the warrant. The issue, however, is not whether probable cause existed to support a search

for evidence of Defendant’s involvement in criminal activity; the issue is whether probable

cause existed to search the residence for contraband. For the reasons stated, the Court

concludes that probable cause existed to support a warrant for such a search.

       Even if the warrant is defective because it was not supported by probable cause, the

good-faith exception to the exclusionary rule from United States v. Leon, 468 U.S. 897

(1984), would merit denial of Defendant’s motion. The good-faith exception applies where

officers acted in good faith and reasonably relied on a warrant later found to be invalid. See

id. The good-faith exception does not apply in the following situations:

       1) when the warrant is issued on the basis of an affidavit that the affiant knows
       (or is reckless in not knowing) contains false information; 2) when the issuing
       magistrate abandons his neutral and detached role and serves as a rubber stamp
       for police activities; 3) when the affidavit is so lacking in indicia of probable
       cause that a belief in its existence is objectively unreasonable; and 4) when the
       warrant is so facially deficient that it cannot be reasonably presumed to be
       valid.

United States v. Thomas, 605 F.3d 300, 311 (6th Cir. 2010). Defendant does not contend that

the officers conducting the search acted in bad faith, and none of the foregoing exceptions

to the good-faith rule are present in this matter. Defendant does not allege that the warrant

affidavit contains false information, or that the magistrate acted as a rubber stamp for police

activity. For the reasons stated with respect to the warrant affidavit and the validity of the

warrant, it would not be objectively unreasonable to believe that probable cause existed to



                                              6
 Case 1:09-cr-00195-PLM        ECF No. 68, PageID.219          Filed 06/25/10   Page 7 of 7




support the warrant. Finally, there is no basis for concluding that the warrant is so facially

deficient that it cannot be reasonably presumed to be valid.

       Therefore, because the warrant affidavit demonstrates that the warrant to search

Redd’s apartment was supported by probable cause, and because the good-faith exception

in Leon would preclude suppression of the evidence even if the warrant is defective,

       IT IS HEREBY ORDERED that Defendant Hollin’s motion to suppress (Dkt. No.

48) is DENIED.




Dated: June 25, 2010                              /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE




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